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                    EXHIBIT D
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                         S KADDEN , A RPS , S LATE , M EAGHER & F LOM LLP
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                                                          ________                                      CHICAGO
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                                                                                                       PALO ALTO
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  DIRECT DIAL                                                                                          WILMINGTON
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                                                                                                        SÃO PAULO
                                                                     September 27, 2021                    SEOUL
                                                                                                         SHANGHAI
                                                                                                        SINGAPORE
                                                                                                            TOKYO
                                                                                                          TORONTO




                  BY EMAIL AND OVERNIGHT MAIL

                  Samuel C. Kaplan
                  Boies Schiller Flexner LLP
                  1401 New York Avenue NW
                  Washington, DC 20005

                                        RE:    SPARTA Insurance Company v. Pennsylvania General
                                               Insurance Company, No. 1:21-11205-DLC (D. Mass)

                  Dear Mr. Kaplan:

                                 I write on behalf of Sparta Insurance Company (“SIC”) to provide
                  notice of indemnification pursuant to Sections 2.19, 8, and 12.9 of the August 9,
                  2007 Stock Purchase Agreement (“SPA”) between Pennsylvania General Insurance
                  Company (“PGIC”), later re-named Pennsylvania Insurance Company (“PIC”), and
                  SPARTA Insurance Holdings, Inc. (“SIH”). This notice relates to prior notices SIC
                  has made to PIC -- which have gone unanswered -- concerning claims, tenders, and
                  other legal processes that SIC has received, which all relate to policies issued by
                  American Employers’ Insurance Company (“AEIC”).

                         As you know, Section 2.19(b) of the SPA states:

                         All liabilities of the Company [AEIC] that have arisen or could arise,
                         under any insurance contract or any reinsurance treaty or otherwise,
                         have been and will be assumed by Seller [PIC f/k/a PGIC] . . . . The
                         Company [AEIC] has, and will at Closing have, no liabilities of any
                         nature, whether absolute, accrued, contingent or otherwise or whether
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           due or to become due, other than those assumed by Seller pursuant to
           the Reinsurance Agreement.1

               Accordingly, in 2007, SIH acquired AEIC as an empty shell, free
from any of AEIC’s then-existing or future liabilities. Notwithstanding that fact, SIC
has been receiving and continues to receive claims allegedly arising from policies
issued by AEIC prior to SIH’s 2007 acquisition of AEIC.

                SIC has received these claims as a result of PIC’s refusal to satisfy its
obligations and handle AEIC claims. In May 2021, SIC was notified by the
liquidator of Bedivere Insurance Company (“BIC”) (formerly known as One Beacon
Insurance Company (“OBIC”)) that AEIC claims would be tendered to PIC as the
party responsible for those claims. Although PIC agreed to fund certain claims on an
interim basis under a reservation of rights, it has denied responsibility for other
AEIC claims. Moreover, although PIC entered into an agreement with A.G. Risk
Management (“AGRM”) to manage all AEIC claims, PIC has since refused to accept
the tender of AEIC claims from BIC’s liquidator. As a result -- in order to protect
policyholders and remove them from a dispute between two insurance companies --
SIC has accepted the tender of AEIC claims from BIC’s liquidator under a
reservation of rights. AEIC will seek full indemnification and reimbursement from
PIC for handling these claims and any received in the future.

               In addition to the claims that SIC has previously tendered to PIC, SIC
has received the following additional claims based on AEIC policies:

      1.    A complaint served on Triangle Enterprises, Inc.’s agent for service
            of process on July 14, 2021 in the matter of Music v. BASF
            Catalysts, LLC, et al., No. 21-CI-00100 (Johnson Cir. Ct. KY).

      2.    A tender letter and request for documents from The Church of Jesus
            Christ of Latter-day Saints and affiliated entities, dated July 21,
            2021.

      3.    SIC received notice from A.G. Risk Management of an ongoing
            litigation in which Bedivere Insurance Company is a plaintiff,
            which concerns AEIC policy liabilities. See Bedivere Ins. Co., et al.
            v. Chanel, Inc., et al., Index No. 651145/2019 E.

      4.    A tender from the University of Michigan concerning AEIC policy
            No. A13-8208-001. Sparta received a communication from Laura

1
        See also SPA Section 8.1; June 15, 2005 Instrument of Transfer and Assumption between
Pennsylvania General Insurance Company and American Employers’ Insurance Company.
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          Cohen of Covington & Burling LLP reporting lawsuits involving
          allegations of sexual misconduct against the University of
          Michigan, which are purportedly covered under the attached policy.

   5.     A tender concerning a workers compensation claim by Clyde
          Brown.

   6.     A complaint served on Triangle Enterprises, Inc.’s agent for service
          of process on September 2, 2021, in the matter of Hack v. Advance
          Stores Co., Inc., et al., No. 21-L-0807 (St. Clair Cnty. Cir. Ct. IL).

   7.     A subpoena relating to AEIC policies sent to SIC by letter dated
          September 15, 2021 concerning Childers v. Davis Mechanical
          Contractors, Inc., et al. No. 2021-CP-40-03484.

   8.     A tender dated September 15, 2021 from Cissell Manufacturing
          Company concerning AEIC Policy No. ASW535386.

   9.     A tender dated September 15, 2021 from Associated Insulation of
          California concerning AEIC Policy No. AXXXXXXXX.

   10.    A tender dated September 15, 2021 from Pyro Engineering
          concerning AEIC Policy No. AAW454543.

   11.    A tender dated September 15, 2021 from Sealite, Inc. concerning
          AEIC Policy No. AWW666984.

   12.    A tender dated September 17, 2021 from M&O Insulation Company
          concerning AEIC Policy No. AW 8502909 (Wesson).

   13.    A tender dated September 17, 2021 from M&O Insulation Company
          concerning AEIC Policy No. AW 8502909 (Geiger).

               Please immediately confirm that PIC will handle, manage, and pay
these claims or proceedings -- as well as the other AEIC claims that Armour Risk
Management was managing and paying, and the prior AEIC claims that SIC
previously tendered to PIC.

         Section 8.1 of the SPA states:

         Seller [PIC f/k/a PGIC] agrees to indemnify and hold Purchaser [SIH,
         now SIC] harmless of and from any loss, cost, expense, claim, interest,
         fine, penalty, deficiency, obligation, liability or damage, including,
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       without limitation, reasonable attorneys’ fees, accountants’ fees and
       other investigatory fees and out-of-pocket expenses, actually expended
       or incurred by Purchaser or the Company (collectively, “Losses”),
       arising out of or resulting from (i) any breach of representation or
       warranty (including any misrepresentation in, or omission from, any
       certificate or other document furnished or to be furnished by the Seller
       to Purchaser hereunder), or nonfulfillment of any covenant or
       agreement on the part of Seller under this Agreement; (ii) the failure by
       Seller to perform any of its obligations under the Reinsurance
       Agreement; (iii) any Loss arising out of or resulting from the existence
       of Company prior to the Closing or the conduct of the Business or other
       operations by or of Company prior to the Closing; (iv) all filing fees
       and administrative assessments for insurance guaranty funds and/or
       insurance department expenses and all other assessments, levies or
       liabilities of any kind arising out of and/or associated with the conduct
       of the Business of the Company prior to the Closing; (v) any matter
       relating to any employee benefit plan or arrangement in effect prior to
       the Closing; and (vi) all actions, suits, proceedings, demands,
       assessments, judgments, costs and expenses incident to any of the
       foregoing (any and all of which are hereafter referred to as a “Claim”).

                As we previously informed you, to the extent PIC does not handle,
manage, and pay these AEIC claims, SIC will protect its interests as necessary with
respect to each of the claims and look to PIC for reimbursement for all costs incurred
in that necessary action.

                 In addition to the above and previous requests that SIC has made to
PIC concerning claims allegedly arising from AEIC policies that SIC has received,
SIC provides this notice of PIC’s obligation to indemnify and hold harmless SIC
from all “loss, cost, expense, claim, interest, fine, penalty, deficiency, obligation,
liability or damage, including, without limitation, reasonable attorneys’ fees,
accountants’ fees and other investigatory fees and out-of-pocket expenses, actually
expended or incurred by” SIC in connection with any of the foregoing matters
pursuant to SPA Section 8.1. Further, SIC provides the same notice of PIC’s
obligation to indemnify and hold harmless SIC from the same in connection with any
other matters purportedly arising, now or in the future, from AEIC policies in which
SIC is identified -- improperly -- as the party responsible for any obligation or
liability arising from AEIC policies.
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                Pursuant to SPA Section 8.1, SIC requests that PIC notify SIC within
ten business days of receipt of this letter as to whether PIC will assume control and
defense of the foregoing claims and any future related claims at PIC’s expense.
Because the above-identified matters remain ongoing and SIC has incurred, and is
incurring, ongoing expense with respect to each of them (which ultimately is the
responsibility of PIC), the dollar amount of the foregoing claims for indemnification
cannot be determined at this time. Pursuant to SPA Section 8.3, SIC will provide
written notice to PIC of the dollar amount of each of the foregoing claims after SIC
has determined such dollar amount(s).

               SIC reserves all rights and waives none.

                                             Very truly yours,



                                             James R. Carroll

cc:    Jeffrey Silver
       One Beacon Insurance Company, General Counsel
       One Beacon Insurance Company, Treasurer
